
45 A.3d 747 (2012)
427 Md. 57
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND
v.
Donya Tarraine ZIMMERMAN.
Misc. Docket AG No. 32, September Term, 2011.
Court of Appeals of Maryland.
June 12, 2012.
Louise G. Scrivener, J.
James P. Botluk, Assistant Bar Counsel (Glenn M. Grossman, Bar Counsel, Attorney Grievance Commission of Maryland), for Petitioner.
John O. Iweanoge, Jr., Esquire, Washington, DC, for Respondent.
Argued before BELL, C.J., HARRELL, BATTAGLIA, GREENE, ADKINS, BARBERA, and McDONALD, JJ.
PER CURIAM ORDER.
For reasons to be stated in an opinion later to be filed, it is this 12th day June, 2012,
ORDERED, by the Court of Appeals of Maryland, that the respondent, Donya Tarraine Zimmerman, be, and she is hereby, disbarred, effective immediately, from the further practice of law in the State of Maryland; and it is further
*748 ORDERED that the Clerk of this Court shall strike the name of Donya Tarraine Zimmerman from the register of attorneys, and pursuant to Maryland Rule 16-760(e), shall certify that fact to the Trustees of the Client Protection Fund and the clerks of all judicial tribunals in the State; and it is further
ORDERED that respondent shall pay all costs as taxed by the Clerk of this Court, including the costs of all transcripts, pursuant to Maryland Rule 16-761(b), for which sum judgment is entered in favor of the Attorney Grievance Commission of Maryland against Donya Tarraine Zimmerman.
